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                   UNITED STATES DISTRICT COURT;.SGH.                   LL^j
                                                                   jT^pumiEnK
                   MIDDLE DISTRICT OF LOUISIANA



DESIREE DELPIT, ET AL.

VERSUS                                             CIVIL ACTION

                                                   NO. 3:16-CV-0026-JJB-RLB

BATON ROUGE CITY POLICE

2ND DISTRICT, ET AL.

       REQUEST FOR NOTICE AND ORDER OF DEPOSITION

Please take notice that Desiree Delpit and Dexter Delpit, Plaintiffs, Pro se
(1857). In the above numbered and entitled action, would like to take the
deposition of Defendants, BATON ROUGE CITY POLICE 2W DISTRICT
(CITY OF BATON ROUGE, EAST BATON ROUGE PARISH); 1.)
Lieutenant Donald Kelly; 2.) Corporal Chase Ard; 3.) Officer Josh Kirst;
4.) Officer Josh Gullich; 5.) Officer Brandon Blackwell; 6.) Officer
Geoffrey Wilkes; 7.) Officer Jory Guidry; 8.) Officer Kent Hagge; 9.)
Lieutenant Stephen Chenevert; and 10.); Sergent Peggy Hardy, on oral
examination, for all purposes, before a court reporter, authorized to
administer oaths in and for the State of Louisiana, who is not counsel or
attorney for any of the parties, nor a relative or employee of such counsel or
parties, nor financially interested in this cause, before the deadline in this
Civil Action. Plaintiffs pray that the courts at UNITED STATES
DISTRICT COURT, MIDDLE DISTRICT OF LOUISIANA, will serve
subpoena's or through counsel without subpoena's, on all Defendants to
testify a's scheduled by the courts discretion before the deadline. Plaintiffs
also pray that the Honorable Judge JJ. Brady and Honorable Judge R.L.
Bourgeois, Jr, UNITED STATES MAGISTRATE JUDGES, will grant an
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order, allowing the Plaintiffs to have the opportunity to depose the
Defendants. And Plaintiffs humbly ask that the Warden at EIayn Hunt
Correctional P.O. Box 174 St. Gabriel, La, 70776 or his designee shall
initiate a video conference or in person. For la^er use in court or for
discovery purposes. Fed. R. Civ. P.3^(b)^) \ ^| ih]f(/l
                      f^.^,CW.(?'3o^to'

                      RESPECTFILLY SUBMITTED

                           -^M^^
 Desiree Delpit, ET AL. Plaintiff, Pro se 2675 Iowa St. Baton Rouge, LA
                            70802 (225) 284-2337
Case 3:16-cv-00026-JWD-RLB      Document 45     06/15/17 Page 3 of 3




                              CERTIFICATE




hereby certify that a copy or the foregoing has this day been ^mu-l^to Ms.
      Deeiee Morris ir28775 Assistant Parish Attorney email address
                          dsmoms(a)br^ov.com




       And hand delivered to the UNITED STATES DISTRICT COUR-

                     MIDDLE DISTRICT OF LOUiSIANA




                 •This 1£) day of 3u^'S_ , 2017




                  ULJ^-^JL^—

                      w^ ^^.
